                Case 1:20-cr-00004-RGE-HCA Document 101 Filed 07/29/20 Page 1 of 1
                            United States District Court for the Southern District of Iowa

Presiding: Honorable Rebecca Goodgame Ebinger
Criminal No. 1:20-cr-00004-RGE-HCA-1    :     Clerk’s Court Minutes – Plea
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United States of America                               :      Gov. Atty(s): Shelly Sudmann
       vs.                                             :      Def. Atty(s): Julie Frank
                                                       :      Court Reporter: Chelsey Wheeler
JEROMY HEATH CLARK
                                                       :      Interpreter: N/A
_______________________________________________________________________________________________________________________________________

Date: July 29, 2020                                    :         Indictment ✔ Superseding Indictment        Information
Time Start: 12:04 p.m.                                 :         In 1 Count(s) – Code Violation:
Time End: 12:39 p.m.                                   :         21:841(a)(1), 841(b)(1)(A), 846. Conspiracy to
___________________________________________________________      Distribute a Controlled Substance (Methamphetamine)
 ✔ Defendant sworn                                               (1ss)
 ✔ Defendant advised of potential perjury charges
 ✔ Plea Agreement filed
   ✔ Defendant understands                                                 Defendant plea of guilty to Count(s): 1ss
   ✔ Defendant agrees                                                      Court findings:
 ✔ Defendant advised of nature of charges                                  ✔ Factual basis
 ✔ Defendant advised of elements                                           ✔ Voluntariness
 ✔ Defendant satisfied with attorney                                       ✔ Competency to plea
 ✔ Defendant advised of penalties                                        ✔ Court accepts plea
   ✔ Maximum fine/incarceration                                            Court rejects plea
   ✔ Mandatory minimum fine/incarceration                                  Offense Conduct Statement due:
     Forfeiture/restitution                                                PSR to be disclosed to counsel:
   ✔ Supervised release                                                    Objections to PSR due:
      ✔ Maximum                                                            Applicability of advisory guideline
      ✔ Mandatory minimum                                                  to the Court due: 10 days before sentencing
   ✔ Mandatory Special Assessment                                          Sentencing date: December 9, 2020 at 11:00 a.m.
 ✔ No promises made regarding sentence                                     Custody status:
 ✔ Defendant advised of sentencing guidelines                              ✔ Detention
 ✔ Defendant waives rights to jury trial                                      Bond
 ✔ Defendant advised of right to persist in not guilty plea
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  Minutes:
  Defendant appeared with counsel. The Court confirms Defendant has not been arraigned on the Second
  Superseding Indictment. Parties discuss changes present in Second Superseding Indictment. To the extent
  Defendant maintains a right to an initial appearance on the Second Superseding Indictment, Defendant waives
  that right. Defendant is sworn and pleads guilty to Count 1 of the Second Superseding Indictment. Court
  orders Government to file addendum to Second Superseding Indictment correcting an error. Court accepts
  plea. Defendant is ordered to remain in detention.




                                                                            _______________________________________
                                                                            /s/ Shai D. Gonzales
                                                                            Deputy Clerk
